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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                GREENBELT DIVISION


KILMAR ARMANDO ABREGO GARCIA,
et al.,

                          Plaintiffs,
          v.
                                                    Case No. 8:25-cv-00951 (PX)
KRISTI NOEM, Secretary of the Department of
Homeland Security, et al.,

                          Defendants.



                                         STIPULATION

        At the July 7, 2025 hearing, Plaintiffs argued that this case was not moot because the
voluntary-cessation exception applied and Defendants would engage in the same conduct
originally complained of in their Complaint. See ECF No. 207 at 13–15; ECF No. 1. To remove
any possible doubt that the exception does not apply here, Defendants stipulate and agree to the
following:

       1. Defendants will not remove Plaintiff Kilmar Armando Abrego Garcia to El Salvador
          again without first reopening his immigration proceedings and terminating his
          withholding of removal to El Salvador, see 8 C.F.R. § 1208.24(f); and

       2. If removing Plaintiff Kilmar Armando Abrego Garcia to a third country, Defendants
          will follow the procedures for third-country removal set forth in the defendants-
          appellants’ stay application, filed and granted in United States Department of
          Homeland Security v. D.V.D., No. 24A1153 28–32 (May 27, 2025); see also id. at 54a–
          55a.

Defendants’ counsel reached out to Plaintiffs’ counsel to inquire whether Plaintiffs would be open
to jointly filing a stipulation, but the parties were unable to reach an agreement.
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 Dated: July 9, 2025                          Respectfully submitted,


                                              BRETT A. SHUMATE
                                              Assistant Attorney General

                                              /s/ Drew C. Ensign ___________
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                                              BRIDGET K. O’HICKEY
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                                              Attorneys for Defendants




                                CERTIFICATE OF SERVICE

       I certify that on July 9, 2025, I caused to be filed the foregoing document via CM/ECF,

which caused a copy to be served on all parties.


                                             /s/ Drew Ensign
                                             Drew C. Ensign
                                             Deputy Assistant Attorney General
                                             Civil Division, Office of Immigration Litigation




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